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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
DEREK SKUZENSKI                                                       Civ No.:

Plaintiff,

-against-                                                             COMPLAINT

THE CITY OF NEW YORK,
THE NEW YORK CITY DEPARTMENT OF
FINANCE, ANTHONY MIRANDA                                              (JURY TRIAL DEMANDED)
(Individually And In His Respective Capacity As
Sheriff of the Sheriff’s Department, New York City
Department of Finance), WARREN GLOVER,
ELIJAH SEYFRIED, JOSE MARZAN, ARI
LIEBERMAN, JOSH HANTMAN,
And JULIO LOPEZ (Individually And In Their
Respective Capacities As Acting Officers of the
Sheriff’s Department, New York City Department
Of Finance)

                                             Defendants.
------------------------------------------------------------------X


        The Plaintiff, DEREK SKUZENSKI, by and through his attorneys L & D LAW P.C.,

complaining of Defendants, jointly and severally, herein respectfully shows to this Court and

alleges the following:

                                         NATURE OF THE CASE

    1. This is an action to remedy the deprivation of Plaintiff’s Constitutional rights and seeks

        relief for Defendants’ violation, under color of state law, of his rights, privileges and

        immunities secured by the Civil Rights Act of 1891, 42 U.S.C. §1983, §1985, §1986, the

        First, Fourth, Fifth and Fourteenth Amendments to the United States Constitution, and the

        Constitution and laws of the State of New York.

    2. Plaintiff further complains pursuant to the Human Right Law of the State and City of New

        York to remedy discrimination, retaliation, and unlawful termination directed at the


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   Plaintiff because of his age and race/national origin, and to seek damages to redress the

   injuries Plaintiff has suffered as a result of Defendants’ unlawful behavior.

3. Plaintiff also complaints of Defendants pursuant to New York Law §740 seeking damages

   to redress injuries Plaintiff has suffered as a result of being retaliated against by Defendants

   for engaging in protected whistleblower activities.

                              JURISDICTION & VENUE

4. Jurisdiction of this Court is proper under 42 U.S.C. § 2000e-5(f)(3), and 28 U.S.C. §§ 1331

   and the Civil Rights Act of 1866 and 1871 which give this Court jurisdiction for each

   statute; the damages; exclusive of interest and costs in this instance exceed that of all lower

   courts, and this Court’s pendent jurisdiction is also invoked.

5. The unlawful employment practices alleged herein occurred wholly or in part, in the

   jurisdiction of the Eastern District of New York.

                                   JURY DEMAND

6. Plaintiff hereby demands a trial by jury on all issues properly triable thereby.

                                      PARTIES

7. Plaintiff Derek Skuzenki is an individual male who resides in the State of New York,

   Nassau County.

8. Plaintiff Skuzenki served as the Undersheriff of the Sheriff’s Department of the New York

   City Department of Finance.

9. Defendant, the City of New York, is a municipal corporation, incorporated in the State of

   New York. Defendant the City of New York oversees all subsidiary agencies of the City of

   New York including the New York City Department of Finance, Sheriff’s Department.




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10. Defendant, New York City Department of Finance is a subsidiary municipal corporation

   operating under the purview of the City of New York, which oversees the New York City

   Sheriff’s Department.

11. Defendant New York City Sheriff’s Office, is the primary civil law enforcement agency of

   the City of New York, tasked with enforcing and executing legal processes/mandates issued

   by the State Courts, legal community and the general public, as well as other matters as

   required by the New York City Department of Finance and City of New York.

12. Defendant Anthony Miranda is the top commanding officer and actual Sheriff of the

   Sheriff’s Department.

13. At all times material, Defendant Miranda was an individual male that resides in the State

   of New York.

14. Defendant Miranda held supervisory authority over the Plaintiff, controlling various

   tangible aspects of his employment, which included the power to hire and fire, direct the

   daily work activities of the Plaintiff, as well as take adverse actions against the Plaintiff.

15. At all times material, Defendant Glover was and is the Assistant Commissioner of the NYC

   Sherriff’s Department.

16. Defendant Glover held supervisory authority over the Plaintiff, controlling various tangible

   aspects of his employment, which included the power to hire and fire, direct the daily work

   activities of the Plaintiff, as well as take adverse actions against the Plaintiff.

17. At all times material, Defendants Ari Lieberman and Josh Hantman served as “Advocates”

   for the Department of Finance/NYC Sheriff’s Department.




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18. At all times materials, Defendants Lieberman and Hantman were prosecutors for the

   municipal Defendants and held the power to bring charges against the Plaintiff and other

   similarly situated employees that could result in adverse employment actions.

19. At all times material Defendants Julio Lopez, Jose Marzan and Elijah Seyfried were

   employees of the Defendants and close confidants of Defendant Miranda.

20. At all times material, Defendant Miranda together with the other individual named

   Defendants acted in their official capacity, jointly and/or individually to engage in and

   conspire to violate Plaintiff’s constitutional rights and other protected rights under

   applicable federal, state and city law.

21. During all times mentioned herein, the individual defendants, including Defendant

   Miranda, acted under the color of law, to wit, under color of the constitution, statutes,

   ordinances, laws, rules, regulations, policies, customs and usages of the State of New York

   and the City of New York.

22. At all times material, the herein named corporate/municipal Defendants served as joint

   employers of the Plaintiff, acting by and through each other as agents.

23. At all times material the City of New York acted through its agencies and affiliates to

   perpetrate unlawful acts against the Plaintiff for which Plaintiff is entitled to damages.

24. At all times material the tortious acts complained of herein arose in the boroughs of the

   City of New York and the County of Nassau.

                                PRELIMINARY STATEMENT

25. The Plaintiff dedicated his life to serving the community. At an early age, Plaintiff

   volunteered at his local fire department and pursued his dream of helping others.




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26. This dream was further recognized when Plaintiff earned multiple degrees, including a

   master’s degree in criminal justice and a PhD in public policy and administration.

27. In 2013, Plaintiff put his degrees and skills to good use for the community by becoming a

   Deputy Sheriff in New York City. Plaintiff worked assiduously and continuously went

   above and beyond, earning him an exemplary record and helping him to rise quickly

   through the ranks.

28. By 2016 Plaintiff was promoted to Lieutenant, serving as the youngest commanding officer

   in the entire Department, and commanding officer of the Sheriff’s Domestic Violence Unit.

   On account of Plaintiff’s hard work and dedication, the Plaintiff was promoted in February

   of 2021 and became the Undersheriff/Chief of the Sheriff’s Department.

29. In this role, Plaintiff served as an executive level police chief, responsible for overseeing

   the agency’s operations, helping to write policy, and managing all sworn and civilian staff

   under his command. Indeed, Plaintiff exceeded all expectations and on his free time,

   Plaintiff volunteered to serve on the New York City Deputy Sheriff’s Association of the

   Sheriff’s Department (hereinafter referred to as “union” or “Sheriff’s union”), eventually

   rising to the role of Vice President.

30. Throughout Plaintiff’s tenure with the Sheriff’s Department, the Plaintiff received

   numerous commendations and accolades. Notably, Plaintiff had a stellar record and never

   faced any disciplinary charges. However, all of this changed when Defendant Anthony

   Miranda was appointed as Sheriff.

31. From their very first interaction, Defendant Miranda showed discriminatory animus

   towards the Plaintiff. Defendant Miranda often remarked how Plaintiff was too young to




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   be in his position, and remarked how Plaintiff was too young to serve in an executive

   position on the union board.

32. When Plaintiff attempted to explain his experience, Defendant Miranda displayed a sense

   of ire towards the Plaintiff.

33. After this interaction, the factual allegations as set forth in greater detail below show that

   Defendant Miranda launched a discriminatory and retaliatory campaign against the

   Plaintiff.

34. However, Defendant Miranda’s discriminatory animus was coupled with a loathing

   towards the Plaintiff for complaining about unconstitutional, unlawful and hazardous

   policies that were enacted by Defendant Miranda and Mayor Eric Adams.

35. In or around 2022, Mayor Adams and Defendant Miranda launched a major operation and

   enforcement effort dedicated to shutting down smoke and cannabis shops throughout the

   City of New York. However, this operation proved to not only be unlawful, it proved

   hazardous for deputy sheriffs and those tasked with handling and storing the cannabis.

36. As Undersheriff and as a union officer, Plaintiff raised concerns with Defendants Miranda

   over (i) the illegality of seizing property and the lack of authority to invade the cannabis

   shops and (ii) the imminent threat that the handling and storage of cannabis posted to

   deputy sheriffs.

37. When Plaintiff raised these complaints, Defendant Miranda engaged in a litany of

   retaliatory acts against the Plaintiff. Defendant Miranda targeted the Plaintiff with false

   charges and disciplinary proceedings. Defendants isolated the Plaintiff, restricted his

   access, withheld Plaintiff’s pay, transferred Plaintiff to less desirable positions, refused to




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   approve leave for the Plaintiff, and most egregiously executed an unlawful search of the

   Plaintiff’s home.

38. Even after Plaintiff’s cessation from the Sheriff’s Department, Defendant Miranda

   continued his discriminatory and retaliatory campaign by defaming and tortiously

   interfering with Plaintiff’s job opportunities.

39. For Plaintiff, what was once a dream became a nightmare. As a result of Defendants’

   unlawful actions, Plaintiff now seeks redress for the damages he has suffered, simply for

   standing up for what is right.

                                          FACTS

40. In or around 2013, Defendants hired the Plaintiff as a Deputy Sheriff.

41. In or around 2016, Defendants promoted the Plaintiff to Lieutenant/Commanding Officer

   of the Domestic Violence Unit.

42. Plaintiff served in this role for in or around four years, until Defendants promoted the

   Plaintiff to Undersheriff, a role in which Plaintiff was the highest nonpolitical rank in the

   entire Sheriff’s Department and in which Plaintiff was an executive level chief, responsible

   for overseeing much of the agency’s units and detention centers/holding cells.

43. Plaintiff excelled in all of his roles and held an immaculate record with no write-ups or

   reprimands.

44. In or around 2022, Defendant City of New York by and through the authority of NYC

   Mayor Adams, appointed Defendant Miranda as NYC Sheriff (which falls under the

   purview of Defendant Dep’t of Finance).

45. Upon information and belief, for some period before his appointment, Defendant Miranda

   was a retired police officer who previously ran for office for the New York City Council

   and for Queens Borough President.


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46. As Sheriff, Defendant Miranda was Plaintiff’s direct supervisor.

47. In or around May of 2022, the Plaintiff met Miranda in his official capacity for the first

   time.

48. Plaintiff sat down with Defendant Miranda so the two could go over official duties and

   responsibilities, however, Defendant Miranda focused the meeting on one thing; Plaintiff’s

   age.

49. Without any provocation, Defendant Miranda berated and questioned the Plaintiff about

   his age, callously remarking “How is it that you even became a chief. You’re too young.

   You don’t have that much time on the job.”

50. Plaintiff responded by telling Defendant Miranda that despite being young, he was

   dedicated and had almost “ten years” on the job and was even granted permanent civil

   service status.

51. Plaintiff observed that Defendant Miranda had a scornful look on his face as he replied to

   the Plaintiff, “So I guess I’m stuck with you.”

52. The very next day, Defendant Miranda and the Sheriffs’ Union Board held a meeting in

   Miranda’s office

53. Much to Defendant Miranda’s dismay and disgust, he met the Plaintiff again since Plaintiff

   served as the Vice President of the Union.

54. At this meeting, Defendant Miranda berated the Plaintiff, exclaiming “You can’t be on the

   Union. You are too young, and you should not be on this board!”

55. In response, Plaintiff politely told Defendant Miranda that it wasn’t right that he should be

   looked down upon because of his age, and that he had worked diligently for almost ten

   years to earn his position.




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56. Defendant Miranda ignored Plaintiff’s protestations and rather than cease with his unlawful

   and inappropriate behavior, Defendant Miranda set out on a retaliatory campaign against

   the Plaintiff.

57. On or about May 20, 2022, shortly after Defendant Miranda’s appointment and his

   discriminatory remarks towards the Plaintiff, Miranda ordered the Plaintiff to have the

   Sheriff’s Honor Guard attend an event.

58. Plaintiff was assigned to the Honor Guard back in 2014, and when Plaintiff became a

   lieutenant, he was placed in charge of the Honor Guard; responsible for coordinating events

   which included but was not limited to attending funerals, police memorials and events

   hosted by the City.

59. Despite being a member of the Honor Guard for almost nine years, Defendant Miranda told

   the Plaintiff he could not attend as a member of the guard.

60. Plaintiff was saddened to learn he could not attend the event in this capacity but rather just

   as an officer on detail.

61. However, when Plaintiff arrived at the event, he learned that it was a private dinner held

   by the National Latino Officers Association, for which Defendant Miranda was the

   founding President, and which was not sponsored by the City or any governmental agency.

   At the dinner, Defendant Miranda further told the Plaintiff that he should sit at the “kids

   table.”

62. Plaintiff was shocked by the comment and surprised to learn that Defendant Miranda was

   ordering on duty members of the Honor Guard to attend an unofficial private event.

63. Plaintiff respectfully questioned why they attended the private event and why the Honor

   Guard was used in their official capacity for a Latino event, but not other private events for




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    other cultures; assuming of course that this was Defendant Miranda’s new custom and

    practice.

 64. In response, Defendant Miranda scowled at the Plaintiff, and told Plaintiff he was being

    removed as a member of the Honor Guard, and was being stripped of his duties as

    commander of this prestigious auxiliary assignment.

 65. Defendant Miranda further told the Plaintiff that he would be replaced by Deputy Sheriff

    Abdel Abdallah, a rank-and-file deputy who was three ranks below the Plaintiff and also

    of Latino dissent.

 66. Plaintiff was in disbelief that Defendant Miranda would usurp his duties and replace him

    with someone who was objectively less qualified.

 67. The above actions by Defendant Miranda were taken against the Plaintiff were

    discriminatory and follow in temporal proximity to Defendant Miranda’s comments about

    the Plaintiff’s age, and Plaintiff’s complaint to Miranda regarding how Plaintiff should not

    be looked down upon because of his age.

 68. The above actions by Defendant Miranda were also retaliation against the Plaintiff who

    complained about the misuse of resources and for questioning why the Honor Guard was

    assigned to a private Latino Association event and were not assigned to other cultural

    events.

 69. In the days and weeks that followed, Defendant Miranda began using his authority to set

    the Plaintiff up for failure.

 70. On multiple occasions, Deputy Abdallah advised the Plaintiff that Defendant Miranda was

    stripping the Plaintiff of staff and reassigning them away from their regular duties so that

    they could attend Honor Guard events specifically for the Latino Officers Association.




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 71. As a result of the above, Plaintiff often found himself without the staff and resources

    necessary to complete pertinent work-related tasks.

 72. The above actions taken personally by Defendant Miranda and/or through his agents

    constitute retaliatory acts that were severe and pervasive and rose well above petty, slight

    or trivial inconveniences.

 73. In or around July of 2022, Defendant Miranda met the Plaintiff in person and told him that

    there would be a major change regarding Plaintiff’s leave requests.

 74. When Plaintiff inquired as to what the change would be, Defendant Miranda advised

    Plaintiff that his other direct supervisor, Joseph Fucito, (former Sheriff and now Chief of

    Operations) would no longer have any authority to approve Plaintiff’s leave requests.

 75. Instead, if Plaintiff wished to take any leave, he would have to put in this request for

    approval directly to Defendant Miranda and/or Undersheriff Julio Lopez.

 76. Defendant Miranda’s directive was perplexing to the Plaintiff, especially because

    Undersheriff Lopez was the same exact rank as the Plaintiff, yet he was now cloaked with

    the authority to approve Plaintiff’s leave requests.

 77. Upon information and belief, Defendant Miranda bestowed this authority upon

    Undersheriff Lopez because he was Latino.

 78. The circumstantial evidence illustrates that Defendant Miranda subjected the Plaintiff and

    other similarly situated Caucasian, Asian and Black officers to disparate treatment, while

    favoring Latinos.

 79. Defendant Miranda’s directive to the Plaintiff served as an omen for the chain of events

    which followed.




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 80. On or about August 22, 2022, Defendant Miranda sent an email to the Plaintiff denying

    Plaintiff’s remaining summer leave, despite that fact that it was already previously

    approved.

 81. On or about September 8, 2022, Defendant Miranda again denied Plaintiff a leave request

    for late October and November which was previously submitted on August 8, 2022.

 82. The above leave request was made months in advance with adequate staffing level and no

    alternative dates were offered to the Plaintiff.

 83. As per Plaintiff’s collective bargaining agreement (CBA), all leave requests must be

    answered within seven working days. However, Defendant Miranda retaliated against the

    Plaintiff by denying the request and making the Plaintiff wait almost five (5) weeks.

 84. On or about September 9, 2022, the Plaintiff emailed Defendant Miranda and Undersheriff

    Lopez requesting alternative leave dates for 10/21, 10/24-10/26, 10/31-11/4, and 11/14-

    11/18.

 85. As cited above, Defendants were supposed to answer the Plaintiff’s request within seven

    working days. However, Defendants waited till on or about September 26, 2022, to answer

    the Plaintiff via email.

 86. In Undersheriff Lopez’ response, written on behalf of Defendant Miranda, the Plaintiff’s

    leave request was denied in its entirety.

 87. On or about October 6, 2022, the Plaintiff replied to the email, requesting alternative dates

    on account of the fact that Defendant Miranda had once again denied all prior requests.

    Plaintiff did not receive a response.

 88. On or about October 18, 2022, after Defendant Miranda and Undersheriff Lopez continued

    to deliberately ignore the Plaintiff, the Plaintiff sent another follow-up email to request




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    alternative dates for leave. Once again, Defendant Miranda and Undersheriff Lopez

    ignored the Plaintiff.

 89. On or about October 20, 2022, the Plaintiff spoke to Undersheriff Lopez in person, to

    address the ignored emails and to request alternative leave dates in December and January.

 90. In response to Plaintiff’s concerns and efforts to find new dates, Undersheriff Lopez

    advised the Plaintiff to follow-up in an email.

 91. In accordance with Undersheriff Lopez’ instructions, the Plaintiff sent yet another email on

    the same day, requesting alternative leave dates for December and January. However,

    Defendant Miranda and Undersheriff Lopez continued their streak of deliberately ignoring

    the Plaintiff.

 92. On or about October 24, 2022, after numerous failed attempts, Plaintiff sent yet another

    email to request new leave dates in December and January. In conjunction with this request,

    the Plaintiff submitted a formal request in City Time.

 93. On or about October 25, 2022, after keeping the Plaintiff in limbo for months, Defendant

    Miranda denied every single request

 94. Defendant Miranda went even further by denying Plaintiff’s earlier requests which were

    made six months prior, seeking a leave in March and April.

 95. Even though the Plaintiff had properly accrued time, affording Plaintiff the ability to

    request leave, the Defendants denied every single request.

 96. Tellingly, Defendant Miranda and all Defendants were fully aware that in accordance with

    City Rules and Regulations, if an officer did not utilize the leave days within a certain

    period of time, the time would then expire because in essence, the time coverts to sick leave

    and becomes restricted.




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 97. Defendants purposely ignored and were deliberately indifferent towards the Plaintiff’s

    requests so that they could force Plaintiff to give up all his leave time on account of the

    expiration.

 98. For the duration of time that Plaintiff was waiting for responses to leave requests, Plaintiff

    observed that Defendant Miranda was constantly authorizing leave for Latino officers,

    even though they had less time accrued than the Plaintiff.

 99. The above denials of Plaintiff’s requests were also taken shortly after Defendant Miranda’s

    comments about Plaintiff’s age, and Plaintiff’s complaints regarding use of the Honor

    Guard for private Latino Association events.

 100.       As demonstrated above, Defendants discriminated and retaliated against the

    Plaintiff because of his age and protected complaints, while also subjecting the Plaintiff to

    disparate treatment on account of his race/national origin.

 101.       As a result of Defendants’ unlawful conduct, the Plaintiff suffered from immense

    emotional distress because he was never able to make any plans outside of work. In

    addition, Plaintiff now faced the stress of never knowing if his plans would have to be

    involuntarily canceled.

 102.       The above events were compounded by additional retaliatory acts taken by the

    Defendants against Plaintiff. These acts are demonstrated as follows:

 103.       Defendant Miranda often remarked to the Plaintiff and others similarly situated that

    he believed work assignments should last for in or around five years.

 104.       However, after Defendants’ denial of Plaintiff’s leave requests, Defendant Miranda

    retaliated against the Plaintiff by transferring the Plaintiff four times in just over two years.




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 105.        From Plaintiff’s own observations and experience, Latino officers were seldomly

    transferred and most remained in their positions for over ten years; or at most, incurred one

    or two transfers for the duration of their career.

 106.        Each time Plaintiff was transferred, it caused great disruption to Plaintiff’s

    command ability and authority.

 107.        When Defendant Miranda took over as Sheriff, in direct temporal proximity to

    Plaintiff’s protected complaints and Miranda’s comments regarding Plaintiff’s age,

    Defendant Miranda transferred the Plaintiff away from his Brooklyn Command into the

    Bronx.

 108.        Notably, this transfer was less desirable as the command was often overwhelmed,

    overworked and short staffed.

 109.        At this command, Defendant Miranda refused to provide the Plaintiff with

    additional resources which were necessary for the Plaintiff and his staff to work

    assiduously on behalf of the Sheriff’s Department.

 110.        In addition, Defendant Miranda was fully aware that the Plaintiff had built a stellar

    reputation in Brooklyn since Plaintiff had been stations there for over nine (9) years.

 111.        Nevertheless, Defendant Miranda moved the Plaintiff to the Bronx for a total of

    nine (9) months and then involuntarily transferred the Plaintiff to the Defendants’

    Manhattan location.

 112.        Despite the above retaliatory acts, the Plaintiff remained a dedicated officer of the

    Sheriff’s Department and continued to serve as a dedicated executive board member of the

    union.




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 113.       In or around this same time period in October of 2022, Defendant Miranda began

    an unprecedented and unconstitutional campaign against marijuana shops in New York

    City.

 114.       Defendant Miranda referred to this unconstitutional campaign as “regulatory

    inspections,” but a rose by any other name would smell as sweet.

 115.       Defendant Miranda initiated this campaign under the guise of “tobacco

    inspections.” However, the evidence shows and Plaintiff observed that none of the

    businesses in question even sold tobacco.

 116.       In the days and months that followed, Defendant Miranda by and through his

    deputy sheriffs began seizing large quantities of marijuana and other personal property

    from these cannabis shops which Defendant Miranda falsely classified as “paraphernalia.”

 117.       At or around this same time period in late Fall of 2022, Defendant Miranda began

    ordering the Plaintiff to initiate such seizures and participate in the campaign.

 118.       In response to Defendant Miranda’s orders, the Plaintiff spoke with Defendant

    Miranda in person and voiced great concerns over the legality of the initiative. In fact, these

    concerns were voiced by the Plaintiff at numerous executive staff meetings where

    Defendant Miranda explained his desire to expand the inspections and demanded that

    Plaintiff “tag along” on many of them.

 119.       Specifically, the Plaintiff advised Defendant Miranda that the searches were illegal

    and likely violated the Fourth Amendment and Fourteenth Amendment of the United States

    Constitution, as the ostensible “regulatory (or tobacco) inspections” were actually unlawful

    searches and seizures that also violated the individual rights of those subject to them.




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 120.      Furthermore, the Plaintiff advised Defendant Miranda that it was unlawful and

    unethical to call the seizures “tobacco inspections” because none of the shops targeted or

    to be targeted sold tobacco. In addition, these inspections had to be compliant with the NYS

    Executive law which required the department to properly document any intention to use

    force and to report it. Yet, the inspections were being conducted by field support and

    tactical response teams that went in with SWAT gear and long guns which was not

    documented nor reported. Therefore, the NYC Department of Finance, Office of the

    Sheriff, had no legal authority under the US Constitution and under 837-T of the New York

    State Executive Law to conduct such a campaign.

 121.      Plaintiff also made additional complaints to Defendant Miranda citing to the

    warrant requirement for such cannabis searches.

 122.      Additionally, at a later point in time, the Plaintiff advised Defendant Miranda that

    (i) an overwhelming number of deputies and staff that served with the Plaintiff were

    experiencing significant health issues as a result of handling and storing seized marijuana

    and (ii) there was no safety training or precautions which taught deputy sheriffs and staff

    how to properly handle the marijuana and how to properly safeguard themselves.

 123.      These concerns were raised to the Plaintiff both as a commanding

    Undersheriff/Chief and as Vice President of the Union.

 124.      Finally, as cited above, the Plaintiff advised Defendant Miranda that the Sheriff’s

    Office was not complying with New York State Executive Law which mandated that the

    Sheriff’s Office complete Domestic Incident Reports and Use of Force Reports.




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     125.        Every time the Plaintiff raised these concerns with Defendant Miranda, Defendant

        Miranda ignored the Plaintiff and threatened disciplinary action against the Plaintiff for

        raising such concerns.

     126.        Despite Defendant Miranda’s dismissal of Plaintiff’s protected complaints, the

        Plaintiff was compelled to abide by the law and his responsibilities to the Department as a

        sworn officer.1

     127.        On or about November 10, 2022, a meeting was held between the Sheriff’s union,

        the Department of Finance and the Defendants’ Office of Labor Relations.

     128.        Defendant Miranda was supposed to attend the November 10th meeting; however,

        he did not attend and ordered his top commanding First Deputy Sheriff, Maureen Kokeas

        to attend in his stead.

     129.        At this meeting, the Plaintiff once again raised concerns about the legality of

        Defendant Miranda’s search and seizure campaign, and further took the time to raise issues

        related to his denied vacation leave; an issue that Plaintiff raised prior, and which was taken

        in retaliation against the Plaintiff.

     130.        Rather than address the Plaintiff’s complaints which were echoed from other

        members on the union board, First Deputy Sheriff Kokeas berated the Plaintiff for

        questioning Defendant Miranda and personally attacked the Plaintiff for questioning

        vacation leave policies.

     131.        Upon information and belief, First Deputy Sheriff Kokeas conferred with

        Defendant Miranda following this meeting and specifically spoke to Defendant Miranda

        about the Plaintiff’s protected complaints and concerns.


1
  The New York State Constitution provides in relevant part that officers make take a sworn oath to obey and uphold
the United States Constitution and the New York State Constitution.


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     132.         In temporal proximity to the Plaintiff’s protected complaints under NY Labor Law,

         Defendant Miranda called the Plaintiff on or about November 16th, 2022, and advised the

         Plaintiff that he was prohibited from speaking with anyone at the Defendants’ Legal

         Department and prohibited from raising any questions about the legality of Defendant

         Miranda’s cannabis search and seizure campaign.

     133.         Defendant Miranda further advised the Plaintiff that any and all requests for legal

         guidance would now have to be made through Defendant Lopez.

     134.         The above hostile actions were carried out against the Plaintiff in retaliation for

         Plaintiff raising protected complaints.

     135.         The above actions taken by Defendant Miranda against the Plaintiff severely

         hindered the Plaintiff’s ability to properly carry out his job responsibilities and directly

         prevented the Plaintiff from complying with Chapter 4 of the Defendants’ Patrol Guide. 2

     136.         All of the actions initiated by Defendant Miranda against the Plaintiff were not

         taken for any legitimate reason. Rather, they were meant to set the Plaintiff up to fail.

     137.         This set up came to fruition many times, which placed the Plaintiff directly in harms

         way.

     138.         For example, on or about November 23, 2022, at a local Bronx supermarket, the

         Plaintiff was tasked with enforcing a money judgment pursuant to property execution. This

         particular property execution was issued post-judgment by an attorney, which in turn raised




2
  Chapter 4 of the NYC Sheriff’s Department Patrol Guide states in relevant part that one of Plaintiff’s primarily
duties and functions is to “Advise[s] staff on application of laws, rules, and procedures, including Civil Practice Law
and Rules, Penal Law, Vehicle and Traffic Law, and other applicable laws of the State of New York and other
jurisdictions. Furthermore, in the NYC Job specification (Code No.30315) Plaintiff’s role/title was specifically
tasked with consulting the Legal Department to “Review legal documents for legal sufficiency and filing fees and
take appropriate action” together with conferring with “legal staff to analyze legal issues.”


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    questions on whether the Plaintiff was properly performing the seizure of monies based on

    the judgment.

 139.        When Plaintiff arrived with his team to perform their assigned duties, the Plaintiff

    had questions regarding the legality of the seizure. Plaintiff attempted to get in touch with

    Defendant Lopez since Defendant Miranda restricted Plaintiff from contacting the Legal

    Department.

 140.        To wit, Defendant Lopez was not an attorney and instead of providing advice or

    reaching out to Legal for the Plaintiff, instead told the Plaintiff he had no idea how to

    proceed; leaving the Plaintiff in a dangerous situation which could have damaged the

    creditor and the debtor.

 141.        The means and mode by which Plaintiff and his officers executed collections could

    have dire consequences if it was not done with proper legal procedure. The Defendants

    essentially set the Plaintiff up for failure.

 142.        The following month, on or about December 29, 2022, Defendant Miranda issued

    a departmental memorandum regarding the seniority/hierarchy of employees and vacation

    selection for 2023.

 143.        In this memorandum, Defendant Miranda included a seniority list which illustrated

    patent discrimination and retaliation against the Plaintiff.

 144.        On the seniority list, Defendant Miranda demoted the Plaintiff and listed other

    deputy sheriffs with less experience in Plaintiff’s title as ranking higher than the Plaintiff.

 145.        In the months that followed, as a result of Defendant Miranda’s actions, the Plaintiff

    was compelled to file a number of protected complaints both individually and through the

    union.




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     146.       In or around January of 2023, the Plaintiff filed a complaint with the New York City

        Public Employee Safety and Health Bureau (PESH) as a result of severe health concerns

        which affected the safety of all deputy sheriffs involved with the seizure of vast quantities

        of marijuana from Miranda’s campaign.

     147.       In fact, the amount of marijuana seized was so vast, that Defendant Miranda ordered

        deputy sheriffs to store the marijuana in unsafe conditions without any regard for the safety

        of his employees.3

     148.       The health concerns raised by the Plaintiff were substantiated by independent

        laboratories tasked with testing the marijuana.

     149.       In the report’s findings, some of the most concerning were the discovery of E.Coli,

        Salmonella and lead. One or more of these contaminants could cause severe infections,

        cancer and even organ failure.

     150.       As a result of ignoring Plaintiff’s complaints and as a result of Defendants’ failure

        to properly train and put in safety precautions for their employees, deputies and staff were

        left exposed to these severe health risks.

     151.       In or around early February of 2023, in conjunction with the above complaint, as

        Vice President of the Union and as a concerned officer of the Sheriff’s Department, Plaintiff

        personally filed a complaint with the New York City Law Department raising grave

        concerns over the constitutionality and illegality of the marijuana campaign.

     152.       Rather than perform any investigation, as a result of the above complaints, the

        Defendants continued their discriminatory, retaliatory and hostile campaign against the

        Plaintiff.


3
 “Tobacco inspections” which commenced in November resulted in the seizure of more than 600 pounds of
marijuana through January 30th, 2023.


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 153.         In or around March of 2023, the Plaintiff’s union attorney, on behalf of the Plaintiff,

    sent an email to Defendant Department of Finance (parent agency of the Sheriff’s Dep’t)

    and to the New York City Office of Labor Relations regarding the bias of the Sheriff

 154.         In close temporal proximity to the above protected complaint, on or about April 7,

    2023, by way of letter, the New York City Department of Investigation (“DOI”)

    mysteriously and ostensibly unsolicited, alerted Defendant Miranda about an old

    unsubstantiated investigation which occurred back in November 2020-January 2021,

    accusing the Plaintiff and similarly situated employees/union members of misconduct

    while seizing contraband/evidence during an enforcement operation.

 155.         More specifically, the April 7, 2023, letter was a referral to Defendant Miranda of

    its old investigate findings, advising Defendant Miranda that he could take administrative

    action.

 156.         Overwhelming evidence suggests that the 2021 investigation was baseless. It is

    undisputed that at the time of the 2021 investigation, then appointed Sheriff Joseph Fucito

    conferred with DOI and confirmed that since there was no evidence to charge the named

    deputy sheriffs for misconduct, there would be no further disciplinary action.

 157.         Upon information and belief, back in 2021 the Queens County District Attorney

    was also apprised of the DOI investigation and they too concurred that there was no

    evidence to charge the named officers in question; one of which was the Plaintiff.

 158.         As a result of the above, the DOI conferred with the Department of Finance

    Advocate and former Sheriff Fucito to confirm no charges would move forward.




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 159.      Even though the matter was considered fully closed, mysteriously it was being

    referred again to the new Sheriff, Defendant Miranda-immediately after Plaintiff’s last

    protected complaint.

 160.      Upon information and belief, Defendant Miranda and/or his agents and affiliates

    acting on his behalf, dug up the old investigation in an effort to unfairly discriminate and

    retaliate against the Plaintiff and other similarly situated officers who had also filed

    protected complaints against Defendant Miranda.

 161.      On or about May 1, 2023, shortly after Defendant Miranda received this DOI

    referral, without any independent investigation or due process afforded to the Plaintiff,

    Defendant Miranda ordered the suspension of four union board members together with

    several deputy sheriffs.

 162.      Plaintiff was one of the members suspended.

 163.      Tellingly, most of the deputy sheriffs that were suspended made whistleblower

    complaints regarding the cannabis searches and/or made complaints about discriminatory

    disparate treatment.

 164.      In order to suspend the Plaintiff, Defendant Miranda acted in a shocking, unlawful

    and unconstitutional manner.

 165.      On or about May 2, 2023, at or around 9:00AM the Plaintiff attended a funeral for

    the mother of a deputy sheriff that was the Plaintiff’s friend and colleague.

 166.      Plaintiff figured that he would stop by the funeral prior to heading to work for the

    day. Accordingly, the Plaintiff drove to the funeral in an assigned Sheriff’s take home car

    that Plaintiff was permitted to use.




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     167.        During the funeral service, Plaintiff received a barrage of phone calls from Assistant

        Commissioner/First Deputy Sheriff, Defendant Glover. Plaintiff further received numerous

        phone calls from Defendant Lopez.

     168.        Upon information and belief, Defendant Glover and Defendant Lopez called the

        Plaintiff during the funeral well over fifteen times.

     169.        Since these calls were coming in as the funeral mass, the Plaintiff was unable to

        pick up in the middle of the mass.

     170.        Plaintiff was also not on duty at the time.

     171.        As the funeral mass ended, attendees lined up near and around the casket as poll

        bearers led the casket outside towards the hearse.

     172.        As Plaintiff exited the procession, Plaintiff noticed yet another call from Defendant

        Glover, which the Plaintiff picked up immediately.

     173.        On the phone, Defendant Glover advised the Plaintiff that they had an emergency

        and needed the Plaintiff to meet them at the office as soon as possible.

     174.        Plaintiff inquired about the emergency and stated he would meet them. Then,

        Plaintiff heard Defendant Glover both on the phone and in person, exclaiming “Come over

        here!”

     175.        Defendant Glover then instructed the Plaintiff over the phone to go to the church

        parking lot.

     176.        As Plaintiff walked towards the church parking lot, startled and confused by

        Defendant Glover’s call, the Plaintiff observed numerous officers in tactical swat gear. 4




4
 Plaintiff observed Defendants Sgt. Elijah Seyfried, Deputy Sheriff Jose Marzan (a close confidant of Defendant
Miranda) and Assistant Commissioner Warren Glover.


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 177.       The swat team officers approached the Plaintiff together with Defendant Glover, as

    Defendant Glover began to frisk the Plaintiff.

 178.       Defendants’ actions shocked the Plaintiff. Plaintiff felt unsafe, fearful and was

    riddled with severe anxiety and stress.

 179.       Immediately after frisking the Plaintiff, Defendant Glover told the Plaintiff “We

    gotta talk. We are going for a drive.”

 180.       Defendant Glover then ordered the Plaintiff to get into his own Sheriff’s car, which

    was a ‘take home’ vehicle provided by the Sheriff’s Department to the Plaintiff.

 181.       Shaking and confused, the Plaintiff was compliant as armed SWAT team officers

    watched his every move.

 182.       When Plaintiff asked Defendant Glover what the issue and emergency was,

    Defendant Glover simply glared at the Plaintiff and provided no answer.

 183.       At this time, Defendant Glover took the Plaintiff’s keys from his hands, ordered

    Plaintiff into the back seat of the car, and advised Plaintiff that Defendant Marzan would

    drive the car.

 184.       Next, Defendant Glover entered the car, sitting in the front passenger seat, and

    Defendant Seyfried entered the back seat next to the Plaintiff.

 185.       Defendants then locked the doors.

 186.       Plaintiff again inquired as to what situation and emergency, to which there was no

    response.

 187.       Defendant Marzan then turned on the lights and sirens of the vehicle and proceeded

    to drive at a high speed from the location of the funeral towards the Bronx.




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 188.      As Plaintiff sat in the car, fearful of what would happen, Defendant Glover then

    handed the Plaintiff a three-page notice, outlining disciplinary charges against the Plaintiff

    for misconduct centered around the baseless and unsubstantiated prior DOI investigation

    of 2021.

 189.      The Plaintiff was scared and baffled as he read through the unfounded charges,

    which also ordered that the Plaintiff be suspended for thirty (30) days.

 190.      Just as Plaintiff finished reading the baseless charges, Defendant Marzan sped up

    the car past well past the speed limit, swerving in and out of traffic with lights and sirens.

 191.      Defendant Glover then asked the Plaintiff, “Where are your guns,” “We want your

    ID and shield,” and “Give us your work phones.”

 192.      Plaintiff advised that these items were located at the Bronx command, which of

    course Defendants already knew since they were headed in that direction anyway.

 193.      After a dangerous drive, in which Defendant Marzan haphazardly sped to the

    Sheriff’s Bronx Command, Defendants confiscated all of the Plaintiff’s work property as

    cited above. In fact, as a result of taking the Plaintiff’s ID card, Defendants embarrassed

    the Plaintiff in front of others by forcing the Plaintiff to wait as Defendants now had to

    swipe the Plaintiff into every access point of the command.

 194.      When the Defendants were finished confiscating the Plaintiff’s items at the

    command, they ordered the Plaintiff back into the car. Defendant Glover then said to the

    Plaintiff, “We need to take your guns at your home.”

 195.      There was no emergency, no probable cause, no level of suspicion and no lawful

    reason for this order. Yet, under the color of law and cloak of authority vested by the

    Sheriff’s Department; the Defendants turned on the lights and sirens and began driving at




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    a high speed from the Bronx Command location all the way to Plaintiff’s home in Nassau

    County, Long Island.

 196.      During the ride, Defendant Glover asked about every firearm owned and possessed

    by the Plaintiff. Plaintiff was fully compliant with this inquiry and advised Defendants of

    service weapons and personal long arms.

 197.      In response, Defendant Glover stated, “As per Sheriff Miranda’s orders, we are

    taking all firearms, including civilian firearms.”

 198.      Fearing additional retaliation and surrounded by Defendant SWAT team officers,

    the Plaintiff complied with the request.

 199.      Plaintiff advised the Defendants that they did not have consent to enter his home

    and respectfully advised Defendant Glover that he would safely retrieve and safely hand

    over all guns to Defendants.

 200.      In response, Defendant Glover shirked at the Plaintiff who was simply invoking his

    constitutional rights, and angrily told the Plaintiff, “We are coming in. You have no

    choice!”

 201.      Since Defendants gave the Plaintiff no choice and were acting as uniformed officers

    under the color of law, the Plaintiff was forced under duress to comply.

 202.      Upon arrival at the Plaintiff’s house, Defendants escorted Plaintiff into his home as

    Plaintiff’s wife stood there watching the events unfold.

 203.      Defendants began an unlawful search of the Plaintiff’s home, following Plaintiff

    into every room including the basement and bedroom, peering over the Plaintiff’s shoulder

    as though Plaintiff was a hardened criminal.




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 204.      When Plaintiff advised Defendant Glover that one of his firearms was located in

    his bedroom and that he would bring it out to them, Defendant Glover ignored the Plaintiff,

    followed the Plaintiff into his bedroom and peered over the Plaintiff’s shoulder as Plaintiff

    safely retrieved the firearm. Throughout this time, Defendant Glover peered into the

    Plaintiff’s drawers and looked around at all of the Plaintiff’s personal items.

 205.      Finally, after more than two hours, the debacle ended, and Defendants left the

    Plaintiff’s home.

 206.      The above unlawful incidents were taken in retaliation for Plaintiff’s protected

    complaints regarding age, race/national origin, and notably; complaints about the legality

    of the cannabis campaign and severe health effects it had on deputies.

 207.      The above incidents violated the Plaintiff’s constitutional rights and those rights

    secured under 42 USC 1983, 85 and 86.

 208.      Defendants’ actions as described above and as set forth below caused the Plaintiff

    to suffer from extreme emotional distress.

 209.      On the following day, May 3, 2023, the parent City agency of the Sheriff’s

    Department, the Department of Finance (DOF), ordered a meeting at the Sheriff’s

    headquarters.

 210.      At that meeting, DOF Commissioner Preston Nilback order and declared that

    individuals suspended (including the Plaintiff) were guilty of serious crimes and that they

    would be terminated. Yet, Plaintiff was afforded no due process under the law.

 211.      At the meeting held at the executive command center, Plaintiff further noticed that

    his headshot picture was taken down. It was custom and practice to have pictures of chiefs

    on the wall, and despite Plaintiff being advised that he would not have his status or title




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    removed; Plaintiff’s headshot was taken down in retaliation for Plaintiff filing protected

    complaints.

 212.       At or around this same time, the Plaintiff filed a complaint with the New York State

    Department of Labor’s Public Employee Safety and Health Bureau (PESH), citing to all of

    the retaliatory acts that the Defendants committed as against the Plaintiff.

 213.       On or about June 1, 2023, Defendants advised that Plaintiff that he and the other

    suspended individuals were not allowed to come back to work even after the suspension

    concluded.

 214.       On or about June 2, 2023, the suspension period ended, but Plaintiff was ordered to

    stay home and not return to work.

 215.       On or about June 3, 2023, Armando Chabran, Defendants’ Chief Personnel Officer

    for Human Resources Management & Labor Relations, sent correspondence to the

    Plaintiff, informing him that he would be reassigned yet again to the Sheriff’s

    Administration located at 375 Pearl Street, New York.

 216.       In the correspondence, Defendants’ CPO Chabran specifically wrote “There will be

    no change to [Plaintiff’s] civil service title and salary.”

 217.       Contradictory to the above correspondence and assurance by the Defendants, the

    Plaintiff was ostracized, usurped of his duties and given severe limitations which prevented

    the Plaintiff from adequately performing his job.

 218.       For example, when the Plaintiff arrived to work at the newly assigned Manhattan

    location, Defendants advised the Plaintiff that he would have limited access to the facility

    unlike the rest of the employees in the building.




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     219.         Defendants ordered the Plaintiff to check in every morning with the building’s

         private security, be issued a guess pass and then be forced to use an emergency exit door

         just to obtain access to the facility.

     220.         Additionally, Defendants denied the Plaintiff any access to overtime, denied

         Plaintiff access to his department email, and even stripped the Plaintiff of his ability to

         login to the computer system.

     221.         In fact, when the Plaintiff needed to use the bathroom, he had to wait for others to

         let him in. This demonstrates the discriminatory and retaliatory animosity of Defendants’

         actions.

     222.         On or about this same day, Defendant Department Advocate Lieberman and

         Defendant Deputy Advocate Hantman informed the Plaintiff that they were seeking

         termination of the Plaintiff and would not offer any ability to negotiate. Plaintiff was

         stunned, as Defendants’ policy and practice always provided employees with the ability to

         negotiate their case and be fairly investigated prior to the department seeking termination.

     223.         Even more perplexing was the fact that during Plaintiff’s tenure, numerous officers

         had been arrested, suspended, and accused of more serious crimes. Yet, none of them

         received any discipline.5

     224.         Notably, the overwhelming majority of officers who were previously arrested and

         involved in serious crimes without facing discipline were Latino.




5
 The Latino officers in question who were treated better than the Plaintiff on account of race/national origin are
Louis Suriel, Marcanthony Matos, Kenneth Matos, Louis Rodriguez, Emmanuel Pinnero, and Joel Contreras. Each
of the aforementioned officers had more charges against them and more severe charges but were all offered plea
deals/dispositions. Tellingly, unlike the Plaintiff, none of these officers were ever referred to the Sheriff’s Advocate
Office for prosecution.


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 225.      The above action taken by the Defendants illustrates discrimination and disparate

    treatment against the Plaintiff on account of race and/or national origin.

 226.      At or around this same time period, Defendants also advised the Plaintiff that the

    Defendants’ Department Advocates, Ari Lieberman and Josh Hantman would be working

    on the same floor as the Plaintiff.

 227.      When Plaintiff was told this, he was surprised and equally saddened, as it was

    Defendant Lieberman and Defendant Hantman who advised Plaintiff that he would be

    prosecuted to the maximum extent. In fact, Lieberman and Hantman were personally

    overseeing and prosecuting the case. Yet, as a result of Defendants’ new orders, Plaintiff

    would be forced to share a break area, lunch area, and bathroom area with them, which

    made the Plaintiff uncomfortable.

 228.      As a result of the above actions taken by the Defendants, Plaintiff made a complaint

    to Defendant Lopez in person about the hostile work environment, and further complained

    about the distance and difficulty of traveling to the new assignment.

 229.      In response, Defendant Lopez agreed that a different location would be much better

    for the Plaintiff, but Defendant Miranda’s orders made clear that the Plaintiff was to

    continue working at the Manhattan location irrespective of the hostile environment and

    undue burden.

 230.      On or about this same day, Plaintiff filed a written request with the Defendants for

    a return of his personal property, which Defendants illegally seized the month prior. This

    was one of the many unanswered requests that the Plaintiff made prior to no avail.




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 231.       The following day, on or about June 7, 2023, the Plaintiff together with other

    similarly situated employees that were subject to a baseless suspension were ordered to sit

    in empty cubicles.

 232.       On this day, wildfire smoke from the Canada made its way into New York City. As

    a result, the City issued a major air quality alert, which in turn led to Defendants’

    authorization to allow employees to leave work. However, since Plaintiff’s access to any

    email or emergency alert was restricted, the Plaintiff together with his fellow

    whistleblowers were left at the office as every other employee had left the office.

 233.       The Plaintiff and other whistleblowers were made to withstand the poor air quality

    conditions and to leave work in unbearable conditions.

 234.       The above actions and more demonstrate the severity of the hostile work

    environment which continued through the month.

 235.       On or about June 20, 2023, Plaintiff was using the restroom urinal. As Plaintiff was

    using the urinal, Defendant Hantman entered the restroom and chose to use the urinal

    directly located next to the Plaintiff.

 236.       Defendant Hantman stared at the Plaintiff and began telling the Plaintiff random

    personal stories. These actions by Hantman made the Plaintiff very uncomfortable,

    especially as it was Hantman who advised the Plaintiff that he sought Plaintiff’s

    termination based on Defendant Miranda’s orders.

 237.       On or about June 22, 2023, Defendants retaliated against the Plaintiff by ordering

    him to assist Defendants Facilities Division and ordering the Plaintiff to perform manual

    labor at the Department of Finance warehouse. This order was unheard of for an officer at

    the Plaintiff’s level. During this time, Defendants ordered the Plaintiff to inventory and




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    stock hundreds of cubicle parts and table legs used for Defendants’ offices. Defendants

    literally made the Plaintiff count table legs and cubicle parts. The order to perform manual

    labor occurred on multiple occasions throughout Plaintiff’s time at the Manhattan location.

 238.      Furthermore, upon information and belief, other employees who were assigned to

    the Facilities Division received training and safety equipment which was necessary given

    the hazardous conditions of the environment which included operational forklifts, heavy

    crates and other construction materials in the Plaintiff’s vicinity.

 239.      As a result of being assigned to the Facilities Division, Defendants did not permit

    the Plaintiff to get overtime and prevent the Plaintiff from taking any other type of training

    which could help advance the Plaintiff’s career.

 240.      Each and every day, Defendants forced the Plaintiff to travel well over four hours

    in order to get to and from work.

 241.      On multiple occasions, the Plaintiff and other whistleblowers/victims of

    discrimination assigned to modified duty at the Manhattan location were prohibited from

    attending Sheriff’s events which included but were not limited to ceremonial events,

    firearms training, and community events.

 242.      As time wore on and work conditions deteriorated, on or about September 5, 2023,

    Defendant Lieberman advised the Plaintiff’s union lawyer, David Kirsch, that the Plaintiff

    had some time saved up and that it was a good time for the Plaintiff to consider leaving the

    job.

 243.      The above action by Defendant Lieberman was an attempt to force Plaintiff from

    the job in what can only be described as a constructive termination.




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 244.       When the Plaintiff heard of this development, he was shocked, and his suspicions

    about being blackballed by Defendants was confirmed.

 245.       This suspicion was further confirmed when the Plaintiff inquired with Defendant

    Hantman about a special ID card as well as a specialized department letter (colloquially

    referred to as a “good guy letter”) that would permit the Plaintiff to carry a firearm in the

    event of Plaintiff’s eventual retirement. The good guy letter also allowed Plaintiff to get

    future job opportunities and protect himself outside of work. It was law enforcement

    custom to give out such letters; that is until the Plaintiff asked for one.

 246.       In response to this inquiry, Defendant Hantman advised the Plaintiff that this was a

    discretionary card, and that Defendant Miranda would not permit the Plaintiff to obtain

    one; even though qualifications for such an ID card were prescribed by federal law together

    with the Sheriff’s Employee Handbook and not Defendant Miranda’s discretion.

 247.       Defendant Hantman gave the same story regarding the good guy letter and told

    Plaintiff it was in Defendant Miranda’s discretion to issue such letters and therefore

    Plaintiff would not get one.

 248.       Defendant Miranda’s actions with regard to denying the Plaintiff a “good guy letter”

    constitute further discrimination and retaliation against the Plaintiff. This is evidenced by

    Defendant Miranda’s issuance of a good guy letter to former Ex-Sgt. Jefferson “Bumpy”

    Rodriguez (Latino), who was terminated by the Defendants more than a decade ago after

    lying about being sick as he was moonlighting as a bouncer and later terminated for

    substantiated charges of committing fraud and perjury.




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     249.         Defendants’ retaliatory campaign continued against the Plaintiff when on or about

         September 27 or 28, 2023, Plaintiff reached out to Defendant Glover to inquire about the

         return of his personal property.6

     250.         In response, Defendant Glover reached out to the Plaintiff on his cell phone and

         advised the Plaintiff that there was no way for the Plaintiff to get his property back unless

         the Plaintiff put in a resignation.

     251.         Plaintiff was appalled by this ultimatum and at this point Defendants’ actions had

         left the Plaintiff in an environment that was so hostile and retaliatory that Plaintiff could

         no longer function in his role.

     252.         As a result of all of the Defendants’ discriminatory, retaliatory and unlawful actions,

         Defendants forced the Plaintiff to leave his role.

     253.         On or about September 29, 2023, Defendants forced the Plaintiff to submit a

         ‘resignation’ which would be effective as of October 6, 2023.

     254.         Subsequently, on this same day, Defendant Hantman sent an email to The Office of

         Administrative Trials and Hearings (OATH), stating in sum and substance that they would

         drop any and all charges against the Plaintiff.

     255.         On or about October 1, 2023, in a state of desperation, Plaintiff filed another

         complaint of discrimination and retaliation against the Defendants with the New York State

         DOL, PESH.




6
 Plaintiff’s personal property was located on Sheriff’s property from which Defendants banned the Plaintiff. The
property included personal items from Plaintiff’s prior command as well as property unlawfully seized during the
search and seizure at Plaintiff’s home. The property included but was not limited to Plaintiff’s personal firearms,
clothing articles, diplomas, family photos, and kitchen appliances used at the office.


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 256.       The next day, on or about October 2, 2023, Plaintiff came to work and sat hopeless

    at his cubicle. At the time, the Plaintiff was assigned to a cubicle directly next to

    Defendants’ Executive Director of Facilities, Sheila Williams.

 257.       Plaintiff noticed that Director Williams was holding a Microsoft Teams meeting

    with Defendant Glover regarding Plaintiff’s complaints and the overall violations reported

    to PESH.

 258.       Rather than be sympathetic towards employees who became sick and developed

    severe medical conditions on account of the cannabis searches and storage; instead,

    Plaintiff noticed that Director Williams and Defendant Glover were trying to absolve

    themselves of liability and look for ways to circumvent necessary safety precautions.

 259.       This above conversation made the Plaintiff very uncomfortable and left the Plaintiff

    in even more emotional distress.

 260.       On or about October 3, 2023, the Plaintiff contacted Undersheriff, Chief John

    Schwartz, and inquired once again about retrieving his personal property.

 261.       In response, Chief Schwartz advised the Plaintiff he would not get his property

    back, and then randomly decided to berate the Plaintiff over taking some of his sick leave.

 262.       On or about October 4, 2023, Plaintiff’s union attorney sent correspondence via

    email to Defendant Department of Finance’s (DOF) Legal Bureau, once again requesting

    return of Plaintiff’s property.

 263.       More than a week later, an attorney from the DOF Legal Bureau advised Plaintiff’s

    union attorney via email that the DOF had not authorized the illegal seizure of Plaintiff’s

    property and therefore Plaintiff should contact Defendant Glover for its rightful return.




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     264.        Plaintiff made numerous attempts throughout this time period to contact Defendant

        Glover through multiple channels including Chief Schwartz, only to be advised that “as

        per the directive of the Sheriff” and by order of Defendant Glover, he would not get back

        his property.

     265.        The above actions by Defendants only exacerbated the hostile work environment

        which forced the Plaintiff from his job.

     266.        On or about October 4, 2023, the Plaintiff arrived for his last day of ‘work.’

     267.        On or about October 11, 2023, the NYS Department of Labor (PESH) interviewed

        the Plaintiff in connected with his protected complaints.7

     268.        On or about this same day, after numerous attempts to retrieve personal Chief

        Schwartz advised the Plaintiff that he would be able to pick up all of his personal property,

        however, when the Plaintiff attempted to do so, Chief Schwartz ignored Plaintiff’s request.

     269.        Upon information and belief, these requests were ignored on account of orders from

        Defendant Miranda and/or his agents and affiliates in retaliation for Plaintiff’s litany of

        protected complaints which preceded these events.

     270.        On or about October 12, 2023, Chief Schwartz advised the Plaintiff that by order

        of the Sheriff, Defendant Miranda, he would not be allowed to return the Plaintiff’s

        personal property under any circumstances.

     271.        Chief Schwartz further advised the Plaintiff that he felt that Defendant Miranda’s

        order was unreasonable but that it was beyond his control.

     272.        The above retaliatory actions were carried out against the Plaintiff in retaliation for

        filing a protected whistleblower complaint.


7
  Presently, no action has been taken by the DOL/PESH. Plaintiff made numerous attempts to follow-up after an
initial phone interview but has not received any response.


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 273.      The above retaliatory actions were also carried out in part against the Plaintiff for

    addressing age discrimination with Defendant Miranda.

 274.      The above retaliatory actions were also carried out in part against the Plaintiff on

    account of discriminatory motives involving race/national origin since Latino/Hispanic

    officers who were charged and convicted with more serious offenses did not face the same

    disparate treatment as the Plaintiff.

 275.      Even after Plaintiff’s forced cessation from the Sheriff’s Dep’t, Defendant

    Miranda’s discriminatory and retaliatory animus reverberated throughout the City and

    haunted the Plaintiff in the months that followed.

 276.      For example, on or about October 23, 2023, the Plaintiff had an interview with

    NYC Health + Hospitals (Gouverneur Hospital) to become the Chief of Hospital Police.

 277.      This interview was held virtually with the Hospitals’ Chief Security Officer, Juan

    Checo, and Daniel Meisels, the Senior Associate Director for the Gouverneur Hospital

    location.

 278.      The interview took place at noon, and since the Plaintiff was well qualified for the

    position Plaintiff felt that the interview went well.

 279.      At the conclusion of the interview, Director Meisels advised the Plaintiff he would

    follow-up within a week because he anticipated that Plaintiff would make it to the next

    round of interviews.

 280.      However, just as Director Meisels was relaying this information, Chief Security

    Officer Checo chimed in and curtly asked the Plaintiff “Do you know Anthony Miranda?”

 281.      The Plaintiff was thrown off by the randomness of this question, but politely

    responded that he knew Defendant Miranda.




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 282.       At this point, Chief Security Officer Checo abruptly ended the interview.

    Subsequently, Plaintiff learned that despite Director Meisel’s assurance of making it to the

    second round; he would be denied the opportunity and denied the job.

 283.       Tellingly, the facts also show that Chief Security Officer Checo was a

    Latino/Hispanic former NYPD Detective who worked with and is friends with Defendant

    Miranda, as the two had served together at the NYPD during Defendant Miranda’s tenure

    at that agency.

 284.       Upon information and belief, Defendant Miranda communicated with Chief

    Security Officer Checo and used his influence in order to prohibit the Plaintiff from

    obtaining the Hospital Police position, even though that the Plaintiff was well qualified for

    the role.

 285.       Even though Defendants forced the Plaintiff from his job, Plaintiff was still a dues

    paying member of the Sheriff’s Union and acted as their Vice President.

 286.       However, on or about December 27, 2023, Defendant Marzan (one of the deputy

    sheriffs who was previously involved in the unlawful capture of the Plaintiff and search

    and seizure at Plaintiff’s home), sent an email to the Sheriff’s union President, requesting

    that the Plaintiff be removed from the executive board.

 287.       Upon information and belief, Defendant Marzan sent this email at the behest of

    Defendant Miranda and/or Defendant Glover who acted in coordination together to deprive

    the Plaintiff of his rights.

 288.       In the months that followed, the Plaintiff’s union proceeded with an administrative

    action against the City and Department of Finance, citing to improper practices by the City

    and the unlawful punishment of deputy sheriff officers including the Plaintiff.




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 289.       As part of this proceeding, Defendant Miranda testified under oath.

 290.       While under oath, Defendant Miranda testified that when he received a referral

    from the DOI back on April 7, 2023, which named the Plaintiff in alleged (yet

    unsubstantiated) acts, he did not conduct any independent investigation and just accepted

    “the ‘facts’ that they provided.”

 291.       In addition, Defendant Miranda testified that back when the Plaintiff was suspended

    in May of 2023, he took the Plaintiff’s guns and ID because he was concerned for Plaintiff’s

    mental health and didn’t want Plaintiff to harm himself or others.

 292.       Yet, Miranda went on to testify that he nor anyone in his office ever offered mental

    health services to the Plaintiff and never advised Plaintiff that this was the rationale for

    taking the Plaintiff’s property. Nor did Defendant Miranda ever request that Plaintiff

    undergo an evaluation.

 293.       In accordance with the applicable rules and regulations of the City of New York, if

    Defendant Miranda actually thought that Plaintiff needed mental health treatment, there

    was an official process that needed to be followed. This illustrates how Defendant

    Miranda’s legitimate non-discriminatory excuse for the actions taken against the Plaintiff

    were merely pretextual.

 294.       As the explosive testimony continued, Defendant Miranda admitted in sum and

    substance that (i) the actions taken against the Plaintiff and others similarly situated did not

    come from DOI and rather came from Defendants Lieberman and/or Hantman; (ii) all

    tangible decisions were made directly by him; (iii) that he was aware of who on the

    Sheriff’s union board was a whistleblower, and (v) that other officers were left in uniform




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    when charges were pending against them while the Plaintiff was forced to report to work

    in civilian clothes.

 295.       Rather than allow the Plaintiff to move on, Defendants continued their unlawful

    discriminatory and retaliatory campaign.

 296.       On or about April 12, 2024, the Plaintiff was interviewed by a panel to become the

    Director of Campus Safety for Medgar Evers College.

 297.       As the meeting ended, one of the interviewers, Professor Gregorio Mayers, began

    questioning the Plaintiff about Defendant Miranda. Then, Professor Mayers made it a

    strong point to tell Plaintiff that he and Defendant Miranda were good friends and therefore

    he would mention the Plaintiff to Defendant Miranda.

 298.       Though the interview went well, and the Plaintiff was more than qualified for the

    position, upon information and belief, once Professor Mayers reached out to Defendant

    Miranda, the Plaintiff was denied the position shortly thereafter.

 299.       The above actions constitute additional retaliation towards the Plaintiff for

    complaining of all the unlawful acts cited herein.

 300.       Throughout May and June of 2024, Defendants continued to retaliate against the

    Plaintiff and tortiously interfere with Plaintiff’s ability to get a new job.

 301.       However, back at the Sheriff’s Department, Defendant Miranda was awarding

    Plaintiff’s perpetrators and ended up promoting Defendants Marzan, Lopez, and Seyfried

    as well as Chief Schwartz who was promoted to fill the Plaintiff’s position.

 302.       The above actions cited throughout Plaintiff’s complaint were taken against

    Plaintiff because of discriminatory animus against Plaintiff’s age and race/national origin

    for which Plaintiff complained to Defendant Miranda.




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 303.       The above unlawful actions carried out against the Plaintiff were taken as a result

    of Plaintiff’s protected complaints as a whistleblower.

 304.       Defendants deprived the Plaintiff of due process and other constitutional rights.

 305.       The above facts, which constitute a violation of law, were a direct and proximate

    legal cause of the Plaintiff’s injuries.

 306.       Defendants failed to properly supervise, train and discipline employees, agents,

    affiliates, servers and/or others under its control about discrimination and retaliation.

 307.       The above are just some of the many examples in which Defendants explicitly

    and/or implicitly unlawfully harmed the Plaintiff.

 308.       As a result of Defendants’ actions, the Plaintiff suffered from severe depression,

    stress, anxiety and other formers of emotional distress.

 309.       The above represents an ongoing violation

                   AS A FIRST CAUSE OF ACTION FOR
             VIOLATION OF RIGHTS SECURED BY 42 U.S.C. §1983
                          (Against All Defendants)

 310.       Plaintiff incorporates all preceding paragraphs of this Complaint as if fully

    restated herein.

 311.       42 U.S.C. §1983 provides that:

                    “Every person, who under color of any statute, ordinance, regulation,
                    custom or usage of any state or territory of the District of Columbia
                    subjects or causes to be subjected any citizen of the United States or
                    other person within the jurisdiction thereof to the deprivation of any
                    rights, privileges or immunities secured by the constitution and law
                    shall be liable to the party injured in an action at law, suit in equity, or
                    other appropriate proceeding for redress.”

 312.       In committing the acts of discrimination and retaliation complained herein, the

    Defendants acted under color of law to deprive Plaintiff of his clearly established




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    constitutionally protected rights under the First, Fourth and Fourteenth Amendment

    of the United States Constitution.

 313.         Plaintiff in this action is a citizen of the United States and all of the individual

    Plaintiff after she complained of unconstitutional violations and took steps to further

    harm Plaintiff’s constitutional rights.

 314.         Defendants also knew or should have known that they were unlawfully

    discriminating against Plaintiff, depriving Plaintiff of his right to freedom of speech,

    depriving Plaintiff of his right to be free of unreasonable searches and seizures,

    depriving the Plaintiff of his rights to substantive and procedural due process, and

    failed to respond or redress such actions in any way.

 315.         Upon information and belief, Defendants were personally involved in either

    ordering or failing to take preventative and remedial measures to guard against the

    unconstitutional discrimination and retaliation against Plaintiff. Defendants also

    knew, or in the exercise of due diligence, should have known, that the unconstitutional

    actions taken against Plaintiff were discriminatory in nature and retaliatory.

 316.         The failure of the individual supervisory Defendants to supervise and/or

    discipline any of the aforementioned Defendants with respect to their unlawful actions

    amounted to gross negligence, deliberate indifference, or intentional misconduct,

    which directly and proximately caused the injuries and damages to Plaintiff set forth

    herein.

 317.         Defendants further failed to afford Plaintiff proper due process on account of

    multiple acts cited throughout the Complaint




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                       AS A SECOND CAUSE OF ACTION
                     (EQUAL PROTECTION – 42 U.S.C. §1983)



 318.       Plaintiff incorporates all preceding paragraphs of this Complaint as if fully

    restated herein.

 319.       Defendants were at all relevant times, supervising employees, with oversight

    responsibility for the training, instruction, and supervision of their employees and of

    the Plaintiff.

 320.       Defendants failed to intervene to prevent the clearly unlawful and

    unconstitutional actions taken against Plaintiff.

 321.       Defendants actively participated in the clearly discriminatory, retaliatory and

    unconstitutional actions taken against Plaintiff.

 322.       Defendants actively condoned other officers to participate in the clearly

    discriminatory and retaliatory actions taken against Plaintiff.

 323.       Defendants also knew or should have known that their conduct was unlawfully

    discriminating against Plaintiff and failed to respond to or to address such actions in

    any way.

 324.       Upon information and belief, Defendants were involved in either ordering or

    failing to take preventative and remedial measures to guard against the

    unconstitutional discrimination and retaliation against Plaintiff.

 325.       Defendants knew, or in the exercise of due diligence, should have known, that

    unconstitutional actions taken against Plaintiff were likely to occur.




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 326.         The failure of the individual supervisory Defendants to supervise and/or

    discipline any of the aforementioned Defendants, officers, DOF prosecutors or other

    Defendants with respect to their unlawful discrimination and retaliatory actions

    amounted to gross negligence, deliberate indifference, or intentional misconduct,

    which directly and proximately caused the injuries and damages to Plaintiff set forth

    herein.

                        AS A THIRD CAUSE OF ACTION
                     (EQUAL PROTECTION – 42 U.S.C. §1983)

 327.         Plaintiff incorporates all preceding paragraphs of this Complaint as if fully

    restated herein.

 328.         The aforementioned acts Plaintiff was forced to endure at the hands of

    Defendants amounts to discrimination and deprives Plaintiff of equal protection under

    the law.

 329.         The ensuing unlawful committed by Defendants were based on Plaintiff’s age,

    national origin, race, and as Plaintiff’s status as a whistle blower.

                        AS A FOURTH CAUSE OF ACTION
                          (Monell Claim – 42 U.S.C. §1983)

 330.         Defendants violated the above statute through multiple acts of unlawful gender

    and race discrimination and retaliation.

 331.         Plaintiff incorporates all preceding paragraphs of this Complaint as if fully

    restated herein.

 332.         All of the acts and omissions by the Defendants described above were carried

    out against the Plaintiff pursuant to overlapping de facto policies and practices of the

    City of New York and its agents, which were in existence at the time of the conduct




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    alleged herein and were engaged in with the full knowledge, consent, and cooperation

    and under the supervisory authority of Defendant The City of New York and

    Defendant Department of Finance (Sheriff’s Department).

 333.      Defendant The City of New York and its agency, The Department of Finance,

    by their policy-making agents, servants and employees, authorized, sanctioned and/or

    ratified the individual wrongful acts of Defendant Miranda and other Defendants

    and/or failed to prevent or stop those acts; and/or allowed or encouraged those acts to

    continue.

 334.      The actions of Defendant Miranda and of other Defendants resulted from and

    were taken pursuant to the de facto policies and/or well-settled and widespread

    customs and practices of the DOF. The relevant policies, customs and practices of

    Defendants permitted Defendants to take unlawful and unconstitutional actions

    against the Plaintiff, as is described in great length and set forth above.

 335.      The existence of the foregoing unlawful de facto unwritten policies and/or

    well-settled and widespread customs and practices is known to be encouraged, and/or

    condoned by supervisory and policy-making officers and the DOF.

 336.      Notwithstanding knowledge of such an unlawful de facto unwritten policy,

    practice, and/or custom, these supervisory and policy-making officers and the DOF,

    have not taken steps to terminate this policy, practice, and/or custom, and do not

    properly train captains with regard to the unlawful acts cited throughout Plaintiff’s

    Complaint, and instead sanction and ratify this policy, practice, and/or custom through

    their active encouragement of, deliberate indifference to, and/or reckless disregard of




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    the effect of said policies, practices, and/or customs upon the constitutional rights of

    Plaintiff and other persons similarly situated to Plaintiff.

 337.       The aforementioned DOF policy, practice and/or custom of failing to

    supervise, train, instruct, and discipline supervisors and officers within the DOF is

    specifically exemplified and evidenced by the misconduct detailed herein.

 338.       Plaintiff’s injuries were a direct and proximate result of Defendants’ wrongful

    de facto policy and/or well-settled and widespread custom and practice, and of the

    knowing and repeated failure of Defendants to properly surprise and train employees

    with regard to unconstitutional conduct.

 339.       Defendant DOF knew or should have known that the acts alleged herein would

    deprive Plaintiff of her rights in violation of the United States Constitution.

 340.       Defendants knew or should have known that the actions unlawful actions taken

    against Plaintiff would occur since almost identical actions of Defendants were

    complained of in the past and nothing was done to remedy such unlawful behavior.

 341.       Defendants is directly liable and responsible for the acts of the individual

    Defendants because it repeatedly and knowingly failed to properly supervise, train,

    and instruct them to require compliance with the constitutions and laws of the State

    of New York and the United States.

 342.       Defendants acted with deliberate indifference towards the Plaintiff as cited

    throughout the Complaint, which includes but is not limited to mishandling and/or

    failing to properly train employees who were tasked with assisting the Plaintiff and

    others similarly situated. The aforementioned constitute some of the many example

    by which Defendants deprived Plaintiff of his constitutional rights.




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                  AS A FIFTH CAUSE OF ACTION FOR
            VIOLATION OF RIGHTS SECURED BY 42 U.S.C. §1985
                         (Against All Defendants)

 343.       Plaintiff incorporates all preceding paragraphs of this Complaint as fully

    restated herein.

 344.       Section 1985(3) provides, in relevant part, that:

                   “If two or more persons in any State or Territory conspire… for the
                   purpose of depriving, either directly or indirectly, any person or class
                   of persons of the equal protection of the laws… in any case of
                   conspiracy set forth in this section, if one or more persons engaged
                   therein do, or cause to be done, any act in furtherance of the object of
                   such conspiracy, whereby another is injured in his person or property…
                   the party so injured or deprived may have an action for the recovery of
                   damages, occasioned by such injury or deprivation, against any one or
                   more of the conspirators.”

 345.       All of the aforementioned Defendants acted either, directly or indirectly, in

    concert with one another, in unlawfully discriminating and retaliating against Plaintiff

    on the basis of gender.

 346.       Similarly, all of the aforementioned Defendants acted, either directly or

    indirectly, to cover up the unlawful discriminatory and retaliatory actions against

    Plaintiff.

                  AS A SIXTH CAUSE OF ACTION FOR
            VIOLATION OF RIGHTS SECURED BY 42 U.S.C. §1986
                         (Against All Defendants)

 347.       Plaintiff incorporates all preceding paragraphs of this Complaint as if fully

    restated herein.

 348.       Defendants failed to prevent a conspiracy amongst DOF employees to deprive

    Plaintiff of rights protected by the United States Constitution.




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 349.       Specifically, Defendants failed to prevent the execution of systematically

    discriminatory, retaliatory, hostile and unconstitutional actions against Plaintiff.

 350.       As a result, Defendants violated the above statute.

                    AS A SEVENTH CAUSE OF ACTION FOR
                    DISCRIMINATION UNDER STATE LAW
                       (Not Against Individual Defendants)

 351.       Executive Law § 296 provides that “1. It shall be an unlawful discriminatory

    practice:

                    (a) For an employer or licensing agency, because of an individual’s
                        age, race, creed, color, national origin, sexual orientation, military
                        status, sex, disability, predisposing genetic characteristics, marital
                        status, or domestic violence victim status, to refuse to hire or
                        employ or to bar or to discharge from employment such individual
                        or to discriminate against such individual in compensation or in
                        terms, conditions or privileges of employment.”

 352.       Defendants engaged in an unlawful discriminatory practice by discriminating

    against Plaintiff as set forth herein.

 353.       Plaintiff hereby makes a claim against Defendants under all of the applicable

    paragraphs of Executive Law Section §296.

                      AS AN EIGHTH CAUSE OF ACTION FOR
                            DISCRIMINATION UNDER
                                    STATE LAW
                         (Not Against Individual Defendants)

 354.       Plaintiff repeats and realleges each and every allegation made in the above

    paragraphs of this complaint.

 355.       New York State Executive Law §296(7) provides that it shall be an unlawful

    discriminatory practice:

                    “For any person engaged in any activity to which this section applies
                    to retaliate or discriminate against any person because [s]he has
                    opposed any practices forbidden under this article.”


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 356.      Defendants engaged in an unlawful discriminatory practice by discharging,

    retaliating, and otherwise discriminating against Plaintiff because of Plaintiff’s

    opposition to the unlawful employment practices of Plaintiff’s employer.

                      AS A NINTH CAUSE OF ACTION FOR
                     DISCRIMINATION UNDER STATE LAW
                        (As Against Individual Defendants)

 357.      Plaintiff repeats and realleges each and every allegation made in the above

    paragraphs of this complaint.

 358.      New York State Executive Law §296(6) provides that it shall be an unlawful

    discriminatory practice:

                   “For any person to aid, abet, incite, compel or coerce the doing of any
                   acts forbidden under this article, or attempt to do so.”

 359.      Defendants engaged in an unlawful discriminatory practice in violation of

    New York State Executive Law §296(6) by aiding, abetting, inciting, compelling, and

    coercing the discriminatory conduct.

                  AS A TENTH CAUSE OF ACTION FOR
                       DISCRIMINATION UNDER
              THE NEW YORK CITY ADMINISTRATIVE CODE
                    (Not Against Individual Defendants)

 360.      Plaintiff repeats, reiterates, and realleges each and every allegation made in

    the above paragraphs of this Complaint as if more fully set forth herein at length.

 361.      The Administrative Code of the City of New York §8-107 [1] provides that it

    shall be an unlawful discriminatory practice:

                   “(a) For an employer or an employee or agent thereof, because of the
                   actual or perceived age, race, creed, color, national origin, gender,
                   disability, marital status, sexual orientation or alienage or citizenship
                   status of any person, to refuse to hire or employ or to bar or to discharge



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                    from employment such person or to discriminate against such person
                    in compensation or in terms, conditions or privileges of employment.”

 362.       Defendants engaged in an unlawful discriminatory practice in violation of

    New York City Administrative Code Title 8, §8-107(1)(a) by creating and maintaining

    discriminatory working conditions, and otherwise discriminating against Plaintiff as

    set forth herein.

                AS AN ELEVENTH CAUSE OF ACTION FOR
                       DISCRIMINATION UNDER
              THE NEW YORK CITY ADMINISTRATIVE CODE
                    (Not Against Individual Defendants)

 363.       Plaintiff repeats, reiterates, and realleges each and every allegation made in

    the above paragraphs of this Complaint as if more fully set forth herein at length.

 364.       The New York City Administrative Code Title 8, §8-107(1) provides that it

    shall be unlawful discriminatory practice:

                    “For an employer… to discharge… or otherwise discriminate against any
                    person because such person has opposed any practices forbidden under this
                    chapter…”
 365.       Each of Defendants engaged in an unlawful discriminatory practice in

    violation of New York City Administrative Code Title 8, §8-107(1) by discriminating

    against Plaintiff because of Plaintiff’s opposition to the unlawful employment

    practices of Plaintiff’s employer.

                 AS A TWELFTH CAUSE OF ACTION FOR
                       DISCRIMINATION UNDER
              THE NEW YORK CITY ADMINISTRATIVE CODE
                     (As Against Individual Defendants)




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 366.      Plaintiff repeats, reiterates, and realleges each and every allegation made in

    the above paragraphs of this Complaint as if more fully set forth herein at length.

 367.      New York City Administrative Code Title §8-107(19) Interference with

    protected rights states that it shall be an unlawful discriminatory practice for any

    person to coerce, intimidate, threaten or interfere with, or attempt to coerce,

    intimidate, threaten or interfere with, any person in the exercise or enjoyment of, or

    on account of his or her having aided or encouraged any other person in the exercise

    or enjoyment of, any right granted or protected pursuant to this section.

 368.      Defendants violated the section cited herein as set forth.

               AS A THIRTEENTH CAUSE OF ACTION FOR
                       DISCRIMINATION UNDER
              THE NEW YORK CITY ADMINISTRATIVE CODE
                     (As Against Individual Defendants)

 369.      Plaintiff repeats and realleges each and every allegation made in the above

    paragraphs of this complaint.

 370.      The New York City Administrative Code Title 8, §8-107(6) provides that it

    shall be unlawful discriminatory practice: “For any person to aid, abet, incite, compel;

    or coerce the doing of any of the acts forbidden under this chapter, or attempt to do

    so.”

 371.      Defendants engaged in an unlawful discriminatory practice in violation of

    New York City Administrative Code Title 8, §8-107(6) by aiding, abetting, inciting,

    compelling, and coercing the above discriminatory, unlawful and retaliator conduct.

               AS A FOURTEENTH CAUSE OF ACTION FOR
                        DISCRIMINATION UNDER
              THE NEW YORK CITY ADMINISTRATIVE CODE
                     (Not Against Individual Defendants)


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 372.      Plaintiff repeats, reiterates, and realleges each and every allegation made in

    the above paragraphs of this Complaint as if more fully set forth herein at length.

 373.      New York City Administrative Code Title 8-107(13) Employer liability for

    discriminatory conducted by employee, agent or independent contractor states that:

        a. An employer shall be liable for an unlawful discriminatory practice based

           upon the conduct of an employee or agent which is in violation of any

           provision of this section other than subdivisions one and two of this section.

        b. An employer shall be liable for an unlawful discriminatory practice based

           upon the conduct of an employee or agent which is in violation of subdivision

           one or two of this section only where:

                       1. The employee or agent exercised managerial or supervisor
                          responsibility; or
                       2. The employer knew of the employee’s agent’s discriminatory
                          conduct, and acquiesced in such conduct or failed to take
                          immediate and appropriate corrective action; an employer shall
                          be deemed to have knowledge of an employee’s or agent’s
                          discriminatory conduct where that conduct was known by
                          another employee or agent who exercised managerial or
                          supervisory responsibility; or
                       3. The employer should have been known of the employee’s or
                          agent’s discriminatory conduct and failed to exercise
                          reasonable diligence to prevent such discriminatory conduct.

 374.      Defendants violated the section cited herein as set forth.

                           AS A FIFTEENTH CAUSE OF ACTION
                          FOR WHISTLER BLOWER UNDER THE
                            NEW YORK STATE LABOR LAW 740
                           (Not Against Individual Defendants)

 375.      Plaintiff repeats, reiterates, and realleges each and every allegation made in

    the above paragraphs of this Complaint as if more fully set forth herein at length.




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 376. In relevant part, Section 740 of the NY State Labor Law as Amended, reads that

    employer(s) or his or her agents shall not take any retaliatory against an employee by doing

    any of the following:

           discharge, threaten, penalize, or in any other manner discriminate against any

           employee or former employee exercising his or her rights under this section,

           including (i) adverse employment actions or threats to take such adverse

           employment actions against an employee in the terms of conditions of employment

           including but not limited to discharge, suspension, or demotion; (ii) actions or

           threats to take such actions that would adversely impact a former employee's

           current or future employment;

 377.      Furthermore, an employer shall not take any retaliatory action against an employee,

    whether or not within the scope of the employee's job duties, because such employee does

    any of the following:

                   (a) discloses, or threatens to disclose to a supervisor or to a public body an

                   activity, policy or practice of the employer that the employee reasonably

                   believes is in violation of law, rule or regulation or that the employee

                   reasonably believes poses a substantial and specific danger to the public

                   health or safety;

                   (b) provides information to, or testifies before, any public body conducting

                   an investigation, hearing or inquiry into any such activity, policy or practice

                   by such employer; or (c) objects to, or refuses to participate in any such

                   activity, policy or practice.




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    3.Application. The protection against retaliatory action provided by paragraph (a) of

    subdivision two of this section pertaining to disclosure to a public body shall not apply to

    an employee who makes such disclosure to a public body unless the employee has made a

    good faith effort to notify his or her employer by bringing the activity, policy or practice to

    the attention of a supervisor of the employer and has afforded such employer a reasonable

    opportunity to correct such activity, policy or practice. Such employer notification shall not

    be required where:

                   (a) there is an imminent and serious danger to the public health or safety;

                   (b) the employee reasonably believes that reporting to the supervisor would

                   result in a destruction of evidence or other concealment of the activity,

                   policy or practice;

                   (c) such activity, policy or practice could reasonably be expected to lead to

                   endangering the welfare of a minor;

                   (d) the employee reasonably believes that reporting to the supervisor would

                   result in physical harm to the employee or any other person; or (e) the

                   employee reasonably believes that the supervisor is already aware of the

                   activity, policy or practice and will not correct such activity, policy or

                   practice. 4. Violation; remedy. (a) An employee who has been the subject of

                   a retaliatory action in violation of this section may institute a civil action in

                   a court of competent jurisdiction for relief as set forth in subdivision five of

                   this section within two years after the alleged retaliatory action was taken.

 378.      Defendants violated the above provisions and Plaintiff is entitled to damages to

    remedy the unlawful acts perpetrated by the Defendants




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                                     JURY DEMAND & RELIEF

              Plaintiff Demands a trial by jury of all issues so triable pursuant to the Federal Rules

     of Civil Procedure.

WHEREFORE, Plaintiff demands the following relief jointly and severally against all

Defendants:

      (a) a declaration that Defendants violated Plaintiff’s federal and state civil rights;

      (d) compensatory damages for the injuries suffered by Plaintiff by reason of Defendants’

      unlawful and unjustified conduct, in an amount just and reasonable and in conformity

      with the evidence at trial in an amount to be determined at trial;

      (c) punitive damages against the individual Defendants assessed to deter such

      intentional and reckless deviations from well-settled constitutional standards to the

      extent allowable by law;

      (d) damages for emotional distress, lost wages, back pay, front pay, statutory damages,

      medical expenses, interest;

      (d) reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 1988 and all other
      applicable laws; and

      (e) such other and further relief as appears just and proper.

Dated: New York, New York
      July 30, 2024
                                               L & D LAW P.C.

                                                          /s/
                                               Paul Liggieri, Esq.
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                                               New York, NY 10004
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                                               Attorneys for Plaintiff



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